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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TENNESSEE
                                   EASTERN DIVISION

   CONSOLIDATED INDUSTRIES, LLC                       )
   d/b/a WEATHER KING PORTABLE                        )
   BUILDINGS,                                         )
                                                      )
          Plaintiff,                                  )
                                                      )     Civil Action No. 1:22-cv-01230-STA-jay
   v.                                                 )
                                                      )     Chief Judge S. Thomas Anderson
   JESSE A. MAUPIN, BARRY D.                          )
   HARRELL, ADRIAN S. HARROD,                         )
   LOGAN C. FEAGIN, STEPHANIE L.                      )
   GILLESPIE, RYAN E. BROWN, DANIEL                   )
   J. HERSHBERGER, BRIAN L. LASSEN,                   )
   ALEYNA LASSEN, and AMERICAN                        )
   BARN CO., LLC,                                     )
                                                      )
          Defendants.


   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL
   FORENSIC EXAMINATION OF INDIVIDUAL DEFENDANTS’ MOBILE PHONES
                   AND OTHER COMPUTER DEVICES

         Defendants Jesse Maupin, Barry Harrell, Adrian Harrod, Logan Feagin, Stephanie

  Gillespie, Ryan Brown, Daniel Hershberger, Brian Lassen, and Aleyna Lassen (collectively

  “Individuals Defendants”) claim not to possess text messages and email correspondence central to

  this case even though they were served with a litigation hold demand at the outset. Belying these

  claims, third parties have provided Plaintiff (“Weather King”) with text messages and emails that

  the Individual Defendants claim do not exist.           Asked to reconcile these discrepancies, the

  Individual Defendants have refused to provide any explanation.

          The only possible explanation for the Individual Defendants’ failure to produce these

  responsive documents is either: (a) an unacceptable failure of their discovery obligations; or (b)

  an intentional destruction of relevant information. “The only way to determine if relevant evidence

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  currently exists or previously existed and was lost or destroyed is to conduct a forensic

  examination” of Defendants’ cellular phones and other devices. Nacco Materials Handling Grp.,

  Inc. v. Lilly Co., 278 F.R.D. 395, 405-06 (W.D. Tenn. 2011). The circumstances under which the

  Individual Defendants have not produced critical documents evidencing their concerted action to

  put Weather King’s Western United States operations out of business—documents that are now

  known to exist—justifies a forensic examination of their devices and accounts.

                                           BACKGROUND

            The law is well settled that an employee owes an undivided duty of loyalty to his or her

  employer during the period of employment:

            Under Tennessee law, an employee owes his employer a fiduciary duty of loyalty:
            “An employee must act solely for the benefit of the employer in matters within the
            scope of his employment. The employee must not engage in conduct that is adverse
            to the employer’s interests.”

  Williams-Sonoma Direct, Inc. v. Arhaus, LLC, 304 F.R.D. 520, 529 (W.D. Tenn. 2015) (quoting

  Efird v. Clinic of Plastic & Reconstructive Surgery, P.A., 147 S.W.3d 208, 219 (Tenn. Ct. App.

  2003)).

            The Individual Defendants egregiously breached that duty of loyalty. Before leaving

  Weather King en masse on June 1, 2022, they unlawfully encouraged each other, other Weather

  King employees, Weather King dealers, Weather King independent contractors, and others to join

  a competing enterprise and squeeze Weather King out of its Western United States portable

  buildings market. As set forth in detail Weather King’s Amended Complaint, they covertly did so

  using Weather King’s trade secrets and other resources; all while being employed and paid by

  Weather King. See Doc. 26. Their scheme worked, and Weather King has sustained significant

  financial losses. Weather King alleges the following causes of action: federal and state trade




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  secrets act violations, breach of the duty of loyalty, interference with business relations,

  defamation, conversion, unjust enrichment, civil conspiracy, and aiding and abetting. Id.

          •   Weather King’s Litigation Hold Demand

          The Individual Defendants’ communications—particularly during the time period that they

  were employed by Weather King—are critical in this case. By letters dated June 13, 2022—less

  than two weeks after their departures from Weather King and four months before Weather King

  brought suit—Weather King demanded that each of the Defendants preserve documents relevant

  to Weather King’s anticipated claims, including communications with each other and with

  Weather King’s dealers 1 and other business relationships. See Litigation Hold Letters, Doc. 1-7.

          Evidence that the Individual Defendants, while still employed by Weather King, were

  encouraging Weather King’s business relationship to join them in a competing business enterprise

  and otherwise launching a competing business that would convert Weather King’s entire

  operational infrastructure is highly probative of Weather King’s breach of duty of loyalty and

  interference claims. These communications may also demonstrate Defendants’ misappropriation

  of Weather King’s trade secrets and be pertinent to Weather King’s other claims. 2 Recognizing at

  the outset the significance of such records, Weather King promptly served the litigation hold letters

  as an attempt to prevent what has apparently occurred—Defendants destroying adverse evidence.

              •   Defendants’ Discovery Responses

          On January 25, 2023, Weather King served Defendants with written discovery including

  interrogatories asking each of the Defendants to identify their communications with Weather King



          1
            Dealers are critical players in the portable buildings industry. Manufacturers, such as Weather
  King, rely on relationships with independent dealers (who operate inventory lots) to sell buildings to end
  users. In many respects, a dealer is the true “customer.”
          2
            As set forth in Paragraph 48 of the Amended Complaint, Defendant Maupin was caught red-
  handed surreptitiously taking Weather King’s sensitive financial information. Doc. 26.


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  employees (including each other), dealers, and other business relationships in which they discussed

  the competing business enterprise or encouraged them to leave Weather King. See, e.g., Ex. 1,

  Harrod Resp. to Interrog. Nos. 3-5. In response, Defendants have provided vague information and

  essentially claim not to remember anything that happened only a year ago. For instance, Defendant

  Harrod states: “I had verbal communications with Weather King dealers and employees about my

  plans to leave,” but states “I do not recall the dates or names of the dealers and employees.” Id.,

  Resp. to Ig. No. 3; see also id., Resp. to Ig. No. 5 (“I had verbal communications with Weather

  King dealers but do not recall the exact dates or parties.”). 3 Although Weather King repeatedly

  demanded supplementation, Defendants have not met their discovery obligations.

         Weather King also served each of the Defendants with requests for production, asking them

  to produce communications with each other, other Weather King employees, Weather King

  dealers, and others. See, e.g., Ex. 1, Harrod Resp. to RFP Nos. 6-15. Inexplicably:

       Not a single Defendant produced a single text message (with each other or with anyone
        else).

       Only one Defendant—Ryan Brown—produced any email correspondence.

       Although Mr. Brown produced more than 300 pages of emails dating back to April 2020,
        only one email was produced during the crucial time period of February-May 2022.

         In the meantime, Defendants have attempted to thwart Weather King’s ability to obtain

  responsive information from third parties by moving for a protective order. See Doc. 33. In other




         3
           Similarly, Defendant Maupin has responded that “he had conversations with various dealers and
  drivers about his departure from Weather King verbally and that the does not recall the dates of such
  conversations.” Ex. 2, Maupin Supp. Resp. to Ig. No. 5. Mr. Maupin has not identified a single one of
  these “various dealers.” Defendant American Barn Co., LLC flatly refused to provide any of this
  information. See Ex. 3, ABCO Resp. to Ig. Nos. 6-12.



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  words, Defendants have sought to prevent Weather King from obtaining from third parties

  communications with Defendants that Defendants claim do not exist (and may be concealing). 4

         •       Contradictory Evidence Obtained from Third Parties

         Defendants’ lack of responses and document production cannot be reconciled with limited

  records Weather King has been able to obtain from third parties. For instance, Defendant Harrod

  claims that he possesses no text messages or other communications with any current and former

  Weather King employees (including the other Defendants), Weather King dealers, and others. See

  Ex. 1, Resp. to RFP Nos. 6-12. Yet, Weather King obtained a text message that Mr. Harrod sent

  to Weather King dealers on May 31, 2022, stating: “Hey guys Stephanie walked out today and quit

  WeatherKing the new girl Shelby don’t say anything to regarding the future.” Doc. 1-1, Doc. 26,

  ¶ 28. In response to interrogatories, Mr. Harrod stated that he “do[es] not recall” the recipients of

  this text message, further suggesting that he intentionally deleted it from his phone. See Ex. 1,

  Harrod Resp. to Interrog. No. 11.

         Defendant Maupin similarly claims that he somehow possesses no responsive text

  messages, emails, or any other correspondence with Weather King employees (including the other

  Defendants), dealers, landlords, and others. Ex. 4, Maupin Resp. to RFP Nos. 6-15. Third parties’

  responses to subpoenas demonstrate that such documents exist and were at some point in Mr.

  Maupin’s possession, custody, or control. For example, in response to Request for Production No.

  13, asking Mr. Maupin to produce correspondence with Troy Buttrey (who was instrumental in

  providing Defendants with funding and providing rental contract services), Mr. Maupin responded:

  “None.” Id. Mr. Buttrey, however, has produced text messages and email correspondence with



         4
            For example, while claiming that he somehow cannot recall any of the dealers with whom he
  communicated (while still employed by Weather King) about Defendants’ plans (Ex. 1, Resp. to Ig. Nos.
  3-5), Defendant Harrod has sought to preclude Weather King from obtaining that information from dealers.


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  Mr. Maupin. See, e.g., Ex. 5, Buttrey Doc. Prod. Particularly given Weather King’s litigation

  hold letter, Weather King is entitled to learn the circumstances in which Mr. Maupin has not

  produced responsive documents that plainly exist.

          Similarly, in response to a request to produce “[a]ll correspondence and other documents

  exchanged with any person or entity related to the leasing or potential leasing of any property

  located in Arizona or New Mexico,” Mr. Maupin represented: “None.” Ex. 4, Response to RFP

  No. 15. Yet in response to a subpoena, James and Sharon Kowalzyk (lessors of property in Globe,

  Arizona, that Weather King used as a sales lot for its portable buildings) produced an email from

  Mr. Maupin dated March 24, 2022—more than two months before his departure from Weather

  King—in which Mr. Maupin stated:

          Good afternoon Mr. Jim I hope all is well your way. I know the lease is up May
          31st and Weather King isn’t really wanting to lease lots anymore but I do good
          sales there and you and I go way back. Would it be possible for me to lease the
          property so I can keep my sales lot open and continue to sell there??

  Ex. 6, Kowalzyk Doc. Prod. (emphasis added). 5

          For his part, Defendant Brian Lassen claims not to possess any correspondence with any

  Weather King employees or builders between January 1, 2022, and July 1, 2022. Ex. 7, B. Lassen

  Resps. to RFP Nos. 6 & 9. Weather King, however, has obtained a text that Mr. Lassen sent to

  other Weather King employees and contractors, including builder Freddie Rodriguez, in which

  Lassen makes false and defamatory statements about Weather King in an attempt to lure people

  away from Weather King. Ex. 8, Freddie Rodriguez Text Message. And even though the first

  sentence of the text indicates that Defendants Maupin and Aleyna Lassen were included in the

  text, id., those Defendants also did not produce the text message (or any other communications).

          5
            Mr. Maupin’s statement that Weather King was no longer interested in leasing the Kowalzyks’
  property was an outright lie, an egregious breach of his duty of loyalty, and part of Defendants’ scheme to
  sabotage Weather King. Through Mr. Maupin’s deception, Defendants ended up converting Weather
  King’s leasehold interest.


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          Despite multiple conferral attempts by Weather King, Defendants have not explained why

  they have not produced these or any other text messages or other correspondence, particularly

  given Weather King’s litigation hold demand. During the meet and confer process, Weather King

  afforded Defendants the opportunity to reconcile the evidence obtained from third parties with

  Defendants’ steadfast claims that they do not possess responsive documents. See, e.g., Ex. 9, April

  19, 2023 Letter to T. Pasternak, p. 2, Maupin Requests 13 & 15. They still have not done so and

  have only responded: “We are not required to give you an explanation of the facts as they are.”

  Ex. 10, May 5, 2023 Letter to D. Johnson, p. 2, Maupin Requests 13 & 15.

          Plainly, Defendants either: (a) have these (and other) records and have not produced them

  in contravention of their discovery obligations and their representations in their discovery

  responses; or (b) have spoliated evidence. A forensic examination of Defendants’ devices is

  necessary to resolve the inconsistency in Defendants’ responses and, if the responsive documents

  have indeed been destroyed, to determine the timing and circumstances in which they were

  destroyed.

                     PROPOSED FORENSIC EXAMINATION PROTOCOL

          Based on the foregoing and to mitigate the harm Weather King has sustained by

  Defendants’ failure to comply with their discovery obligations, Weather King requests that the

  Court implement the following protocol, designed to balance all parties’ interests:

          1.      First, each Defendant should be “ordered to file with the court an affidavit or

  declaration setting forth in detail each step . . . taken to preserve, search for, and collect potentially

  relevant information, both electronic and paper, from the time” each Defendant was served with

  Weather King’s June 13, 2022, litigation hold letter “and to the present, the name of the person

  taking such steps, and the date on which the steps were taken,” including “what computers and




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  files were searched and by whom,” and “the search method utilized.” Nacco Materials, 278 F.R.D.

  at 407.

            2.    The Court should further require each of the Individual Defendants to serve a

  certification detailing with specificity each device, including but not limited to laptop computers,

  desktop computers, cell phones, tablets, thumb drives, or other portable electronic or storage

  devices (collectively “Devices”), in their possession, custody, or control, that: (a) contains or

  contained any information that refers to, relates to, or was created by Weather King; or (b) was

  used to communicate with the other Defendants or with other former or current Weather King

  employees, dealers, builders, drivers, rental companies, and other business relationships after

  January 1, 2022.

            3.    The certification shall also identify all: (a) email accounts; (b) cell phone numbers;

  (c) cell phone providers; (d) messaging services (including social media); (e) Google drive

  accounts, Dropbox accounts, and any other cloud-based account that they have used at any time

  since January 1, 2022. 6

            4.    Each of the Individual Defendants shall tender the Devices to a third-party

  computer forensic vendor mutually agreed to by the parties or, if the parties cannot agree, selected

  by the Court.

            5.    The selected vendor shall make a forensic image or “golden copy” of each cellular

  phone and hard drive of each Device and shall return each Device to the respective owner within

  two business days after the Device is tendered. 7




           Defendants refused to respond to interrogatories requesting this information.
            6


           If the vendor encounters difficulty with the extraction process, the parties shall work cooperatively
            7

  to endeavor to resolve any issues and may seek the Court’s intervention if necessary.


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         6.        Thereafter, the vendor shall perform data searches of the Devices based on search

  terms agreed upon by the parties. 8

         7.        The vendor shall also search for communications between and among the

  Defendants and other specified individuals, as requested by Weather King.

         8.        Upon gathering the data requested by Weather King, the vendor shall provide the

  data to Defendants’ counsel.

         9.        Within seven days of receiving data from the vendor, Defendants’ counsel shall

  provide Weather King’s counsel with responsive documents and a privilege log for any responsive

  documents withheld for privilege.

         10.       The vendor shall also make determinations, as requested by Weather King, as to

  the circumstances in which data were downloaded or transferred to or from the device and in which

  data have been deleted and may attempt to recover deleted data.

         11.       Using Defendants’ login information provided privately to the vendor, and with

  Defendants’ participation in two-factor authentication where applicable, the vendor shall also

  access Defendants’ electronic messaging, cloud-based email, and cloud-based storage accounts to

  search such accounts and to recover data that Defendants may have attempted to delete.

         12.       The vendor shall not provide Weather King with any data extracted from the

  Devices or divulge the contents of any communications or other data ascertained from the Devices

  unless first approved by Defendants’ counsel or the Court.

         13.       As noted above, Defendants shall fully cooperate with the vendor, including

  providing all logins and passwords, participating in any two-factor authentication required, and




         8
             The searches must be relevant to this lawsuit.


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  identifying relevant third parties’ phone numbers and email addresses for conducting tailored

  searches.

         14.     As it is contemplated that additional searches may be needed as the litigation

  progresses, the vendor shall retain the forensic images pending agreement by all parties or further

  order of the Court.

         15.     The parties shall meet and confer as it relates to any disputes that may arise. Any

  unresolved issues may be presented to Magistrate Judge York for resolution.

                                       LEGAL ARGUMENT

         As the Sixth Circuit acknowledged 15 years ago, “forensic imaging is not uncommon in

  the course of civil discovery.” John B. v. Goetz, 531 F.3d 448, 459 (6th Cir. 2008). Nevertheless,

  “even if acceptable as a means to preserve electronic evidence, compelling forensic imaging is not

  appropriate in all cases, and courts must consider the significant interests implicated by forensic

  imaging before ordering such procedures.” Id. at 460.

         “Courts have permitted restrained and orderly computer forensic examinations where the

  moving party has demonstrated that its opponent has defaulted in its discovery obligations by

  unwillingness or failure to produce relevant information by more conventional means.” Gammons

  v. Adroit Med. Sys., No. 3:21-CV-173-TAV-DCP, 2022 WL 19731246, at *2 (E.D. Tenn. Nov.

  16, 2022) (citations omitted). Defendants have defaulted on their discovery obligations, and so

  the Court should order just such a restrained and orderly examination of their mobile phones and

  other electronic data storage devices and accounts.

  I.     A forensic examination is warranted due to deficiencies and inconsistencies in
         Defendants’ discovery responses.

         “Courts have recognized that discrepancies or inconsistencies in the responding party’s

  discovery responses may justify a party’s request to allow an expert to create and examine a mirror



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  image of a hard drive.” Hawkins v. Ctr. for Spinal Surgery, No. 3:12–1125, 2015 WL 3795297,

  at *1 (M.D. Tenn. June 18, 2015); see also Gammons, 2022 WL 19731246, at *3 (quoting same).

  Although mere suspicion that a party has not fulfilled its discovery obligations is generally

  insufficient, courts have acknowledged that a forensic examination is proper “when there is more

  than mere skepticism that a responding party has failed to produce information.” Tenpenny v.

  Prime Now, LLC, No. 3:19-cv-0420, 2020 WL 12894958, at *3 (M.D. Tenn. Jan. 8, 2020),

  approved 2020 WL 12894953 (M.D. Tenn. July 16, 2020) (citing Tingel v. Hebert, No. 15-626-

  JWD-EWD, 2018 WL 1726667, at *7 (M.D. La. Apr. 10, 2018)).

         Here, Weather King is not merely skeptical that Defendants have not produced responsive

  documents. Documents provided by third parties show that responsive documents exist and that

  the Individual Defendants have either deleted them or are falsely claiming not to possess them.

         The circumstances in this case are similar to Ameriwood Indus., Inc. v. Liberman, No. 4:06-

  CV-524–DJS, 2006 WL 3825291 (E.D. Mo. Dec. 27, 2006). There, the plaintiff brought suit

  against several former employees, alleging that they misappropriated confidential information in

  forming a competing business “while in plaintiff’s employ to sabotage plaintiff’s business

  relationships and divert plaintiff’s business to themselves.” Id. at *1. During the course of

  discovery, the plaintiff obtained an email between one of the defendants and a customer that the

  defendants did not produce in discovery. Id. at *3. Noting that “[i]t is generally accepted that

  deleted computer files are discoverable,” id., the court concluded:

         Considering the close relationship between plaintiff’s claims and defendants’
         computer equipment, and having cause to question whether defendants have
         produced all responsive documents, the Court will allow an independent expert to
         obtain and search a mirror image of defendants’ computer equipment. . . . “Courts
         have found that such access is justified in cases involving both trade secrets and
         electronic evidence, and granted permission to obtain mirror images of the
         computer equipment which may contain electronic data related to the alleged
         violation.”



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                                         *       *        *

          In light of the [customer] email, the Court finds that other deleted or active versions
          of emails may yet exist on defendants’ computers. Additionally, other data may
          provide answers to plaintiff’s other pertinent inquiries in the instant action, such as:
          what happened to the electronic files diverted from plaintiff to defendants’ personal
          email accounts; where were the files sent; did defendants store, access or share the
          files on any portable media; when were the files last accessed; were the files altered;
          was any email downloaded or copied onto a machine; and did defendants make any
          effort to delete electronic files and/or “scrub” the computers at issue.

  Id. at *1-3 (citation omitted).

          District courts in Tennessee have compelled the forensic examination of parties’ cell

  phones, laptops and other devices under similar circumstances. See, e.g., Tenpenny, 2020 WL

  12894958, at *3 (ordering forensic examination of plaintiff’s phone and other electronic devices

  where “Defendant is not simply speculating that Plaintiff is withholding information, that fact is

  undisputed”); Nacco Materials Handling Grp., Inc. v. Lilly Co., 278 F.R.D. 395, 405-06 (W.D.

  Tenn. 2011) (finding that defendant was, “at a minimum, negligent in discharging its discovery

  obligations,” and that “[t]he only way to determine if relevant evidence currently exists or

  previously existed and was lost or destroyed is to conduct a forensic examination”); EEOC v. New

  Breed Logistics, No. 10–2696 STA/TMP, 2012 WL 4361449, at *8 (M.D. Tenn. Sept. 25, 2012)

  (“[B]ecause of [defendant’s] failure to preserve emails timely and its failure to save the 2008

  [computer server] backup tapes, it is only fair and equitable for the court to give the [plaintiff] an

  opportunity to find out if the 2009 tapes have relevant emails”); Goad v. Lewis, NO. 3-13-1102,

  2014 WL 12782812, at *1-2 (M.D. Tenn. Nov. 7, 2014) (reversing magistrate judge’s finding that

  forensic imaging of plaintiff’s devices was not warranted where “Plaintiff knew or should have

  know that deleting emails breached that duty” to preserve evidence and “Defendants have carried

  their burden of showing that there is no other way to recover the deleted e-mails”); Gammons,




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  2022 WL 19731246, at *2-3 (ordering forensic examination where defendants failed to produce

  requested emails and text messages).

         The circumstances here similarly warrant a forensic examination of Defendants’ devices

  and accounts. Indeed, Defendants’ claims that they do not possess responsive communications

  cannot be reconciled with: (a) the fact that Weather King has obtained from third parties

  communications that Defendants claim do not exist; and (b) Weather King’s June 13, 2022,

  litigation hold demand—well before it filed suit. Moreover, Defendants have attempted to thwart

  Weather King’s ability to obtain this correspondence from third parties. See Doc. 33.

  II.    Weather King’s proposed examination protocol is narrowly tailored to account for
         Defendants’ interests.

         Weather King has proposed a framework for a forensic examination that would allow it to

  obtain the information it needs while adequately protecting the Individuals Defendants’ legitimate

  privacy and business interests. See pages 7-10 above. The protocol is designed to minimize any

  disruption, as well as to ensure that privileged information and private, irrelevant information is

  not produced to Weather King. Thus, Defendants’ counsel will have the opportunity to screen

  data for privilege before it is released to Weather King.

         In Delta T, LLC v. Williams, 337 F.R.D. 395 (S.D. Ohio 2021), the court found that similar

  safeguards adequately protected the producing party’s interests. After finding that a forensic

  examination was warranted due to the defendants’ failure to produce responsive communications,

  id. at 402, the court found:

         [T]he utility and necessity of forensic imaging here outweigh the privacy and
         confidentiality concerns inherent in such imaging. John B., 531 F.3d at 460 (“courts
         must consider the significant interests implicated by forensic imaging before
         ordering such procedures”); Bennett, 928 N.E.2d at 774. [Plaintiff] has an interest,
         and a right under Rule 26, in obtaining relevant information that falls within the
         scope of discovery. But Defendants failed to produce relevant discovery, and
         subsequently failed to explain why, or why doing so would cause a burden that



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         exceeds its likely benefit. So, whether Defendants are unwilling or unable to
         cooperate, forensic imaging will help the parties to engage in an appropriate and
         productive discovery stage. The constrained forensic imaging protocol here will
         result in the exchange of relevant, proportional discovery—while screening
         privileged material—or reveal a dearth of material. Either way, the process will be
         important in resolving the case. See Fed. R. Civ. P. 26(b)(1).

         Defendants’ vague allusions to privacy concerns fail to come to grips with the
         limited procedure [plaintiff] is proposing. Indeed, the restraints on the search should
         alleviate Defendants’ worries. Both parties will have a say in selecting the
         independent forensic examiner. The search protocol is designed to generate relevant
         communications. And the forensic examiner will first provide the documents
         generated by the search to defense counsel, who may review them before producing
         them to [plaintiff’s] counsel[.] Defense counsel may assert objections and produce
         copies of the objected-to documents for an in camera inspection by this Court.
         Unlike John B.’s clearly erroneous discovery order, which failed to properly
         account for the case's privacy and confidentiality concerns, the reasonable
         limitations proposed here will serve as guardrails against unnecessary incursions
         into Defendants’ privacy or excursions into privileged material. Compare John B.,
         531 F.3d at 460. Defendants’ generic evocations of privacy, without more, fall short
         of showing that the proposed forensic imaging here would be unduly burdensome.
         Ameriwood, 2006 WL 3825291, at *5 (recognizing defendants’ privacy concerns,
         but finding that a similar three-step procedure sufficiently addressed those
         interests).

  Id. at 403-04.

         Further, the affidavit/declaration requirement set forth in Step 1 of the protocol is

  reasonable and warranted and consistent with what Magistrate Judge Vescovo required in Nacca

  Materials. See 278 F.R.D. at 407.

  III.   Defendants should be assessed the costs of the examination.

         Finally, given Defendants’ failure to preserve and produce correspondence and other

  documents highly relevant to Weather King’s claims, the Court should require Defendants to bear

  the costs of the forensic examinations. Courts have routinely found that a party that does not

  comply with its discovery obligations must bear the consequences of its acts and omissions.

         For instance, in Nacco Materials, supra, the Court found that, “[b]ecause [defendant’s]

  deficient preservation and collection efforts necessitated these actions, the court finds that



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  [defendant] should bear these costs” of a forensic examination. 278 F.R.D. at 406; see also id. at

  407 (“It bears repeating. [Defendant] is required to bear these costs because its preservation and

  collection efforts were woefully inadequate.”); id. (finding that plaintiff was “entitled to an award

  of reasonable costs, including its attorney fees, associated with bringing the motion); New Breed,

  2012 WL 4361449, at *8 (“[Defendant] must bear all of the costs associated with restoring and

  examining the [computer backup] tapes because its preservation and collection efforts were

  inadequate.”).

          If Defendants had fulfilled their preservation and discovery obligations, a forensic

  examination of their devices would have been unnecessary. Defendants, therefore, should be

  required to assume financial responsibility for their noncompliance, not Weather King. 9

                                              CONCLUSION

          For the foregoing reasons, Weather King respectfully requests that the Court grant its

  motion.

                                                      BUTLER SNOW LLP

                                                      /s/ David L. Johnson
                                                      David L. Johnson, BPR #18732
                                                      John H. Dollarhide, BPR #40041
                                                      150 3rd Avenue South, Suite 1600
                                                      Nashville, TN 37201
                                                      Telephone: (615) 651-6700
                                                      Fax: (615) 651-6701
                                                      david.johnson@butlersnow.com
                                                      john.dollarhide@butlersnow.com
                                                      larry.cheng@butlersnow.com

                                                      Daniel W. Van Horn, BPR #18940
                                                      6075 Poplar Ave., Suite 500
                                                      Memphis, TN 38119
                                                      Telephone: (901) 680-7200

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            Weather King is not seeking reimbursement of its attorney’s fees incurred with respect to bringing
  this motion at this juncture. Weather King, however, reserves the right to seek reimbursement at a later
  date, particularly upon a finding that Defendants have not complied with their discovery obligations.


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                                                 Fax: (901) 680-7201
                                                 Danny.VanHorn@butlersnow.com

                                                 Attorneys for Plaintiff



                                  CERTIFICATE OF SERVICE

          I hereby certify that on May 19, 2023, I filed the foregoing with the Court using the ECF

  system, which will provide notice and a copy to counsel of record:

          Thomas G. Pasternak
          AKERMAN LLP
          71 South Wacker Drive, 47th Floor
          Chicago, IL 60606
          thomas.pasternak@akerman.com
          Attorneys for Defendants


                                                      /s/ David L. Johnson___________________
                                                      David L. Johnson



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